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      7 Attorney for PlaintiS'
        United States of America
      S                                                                                                    CI


      9                               UNITED STATES DISTRICT COURT
     10                        FOR THE CENHLAL DISTRICT OF CALIFORMA
     11    UN111SD STATES OF AMERICA                      No. CR 96-977-RAP
     12
                                                          STtPULAl-ED SENTENCD^G
     13                                                   RECOMMENDATION
                               V.
     14
           SERGUEI ADONIEV. et al.
     15
                 Defendants.
     16
     17
     18          Plaintiff UNITED STATES OP AMERICA, by and through its attoniey of record.
     19 Asuistant United States Attorney Stephen G. Larson, and dofendaiil SERGUEI ADONIEV, by
     20 and through his counsel of record, Stephen D. London, Esq., hereby submit their joint, stipulated
     21 seDteiicujg i wommendaTioQ in the above-referenced matter!
     22          Tlw parlies concur with the factualfindings,sentencingfectors,and criiranal histoiy
     23 classiilcation set forth in the Probation OfQcer's Presentonca Report (TSR"). Specifically, both
     24 tlie case settlement agreement and th^ PSR recommend a base aSenea level of 6 (U.S.S.G. §
     25 2ri.l(a)X a 14-levcI increase for the amount of loss (U.S.S.G. § 2FMCb)(l)(0)), a 2-level
    26 increase £br more than minimal planniiig (U.S.S.G. § 2F1.1(b)(2)), and a 3-leveI reductioQ for
    27 acceptance of responsibility (U.S.S.G. § 3E1.1). The resulting total offense level calculaiwl by
    28 the PSR is 19. \VitIi a criinijial liisloiy category of 1, defendant's sentendng range under the PSR

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      1 is 30-37 moiUljs.
      2          In addition, the case settlement agreenaent calls for a turther 2-level reduction based on
      3 defendant's wilUngQess lo submit to voluntary deportation. Under the case settlement agreement,
      4 defendant's total offense level is 17. With a crinilnal history category of I, defendant's aentcncing
      5 niogo 13 24-30 months.
      6          The p&itic» agree that, ^ven the circumstances of this case, the foilowing sentence is
      7 appropriate: Defendant should he (1) sentencjed to 30 months mcarceration, (2) ordered to pay a
      s   fine of 560,000, which defendant has akeady paid; (3) ordered to pay restitution in the amount of
      9 $4,040,780 to the government of Kazakhstan. $1,000,000 of wMch defendant has aheady paid;
     10 and, (4) following the term of incarceration, placed on supervisedreleasefbr a period of 3 years.
     II                                               Respectiully submitted.
     12          DATED: June 10.1998
     13                                               NORAMWANELLA
                                                      United States Attorney
     14
                                                      DAVID C. SCHEPER
     15                                               Assistant United States Attorney
                                                      Chie^ Crinunal Diviaon
     16
     17
                                                      STEPHEN G.LA&fiON
     18                                               Assistant United States Attorney
     19                                               Attorneys fdr Plamtiff
                                                      United States of America
     20
     21         DATED. Juue 10,1998
     22
     23
     24
     25                                               Attorney
                                                           neylfor .Defendant
     26                                               SERGlfel ADONIEV
     27
     28
     Case 2:96-cr-00977-RAP Document 58 Filed 06/12/98 Page 3 of 3 Page ID #:48



 1                                  CERTIFICATE OF SERVICE BY MAIL

 2             I , JUDEE GUZMAN, d e c l a r e :

 3             That I am a c i t i z e n o f t h e U n i t e d S t a t e s and r e s i d e n t o r

 4     employed i n Los Angeles County, C a l i f o r n i a ; t h a t my business

 5     address i s O f f i c e o f U n i t e d S t a t e s A t t o r n e y , U n i t e d S t a t e s

 6     Courthouse,           312 N o r t h S p r i n g S t r e e t , Los Angeles, C a l i f o r n i a

 7     90012; t h a t I am over t h e age o f e i g h t e e n y e a r s , and am n o t a

 8     p a r t y t o t h e a b o v e - e n t i t l e d a c t i o n ; That I am employed by t h e

 9     United States Attorney f o r the Central D i s t r i c t of C a l i f o r n i a
10     who   i s a member o f t h e Bar o f t h e U n i t e d S t a t e s D i s t r i c t Court

11     f o r t h e C e n t r a l D i s t r i c t o f C a l i f o r n i a , a t whose d i r e c t i o n t h e

12     s e r v i c e by m a i l d e s c r i b e d i n t h i s C e r t i f i c a t e was made; t h a t on

13     June 12, 1998, I d e p o s i t e d i n t h e U n i t e d S t a t e s m a i l s i n t h e

14     U n i t e d S t a t e s Courthouse a t 312 N o r t h S p r i n g S t r e e t , Los

15     Angeles, C a l i f o r n i a , i n t h e a b o v e - e n t i t l e d a c t i o n , i n an

16     envelope b e a r i n g t h e r e q u i s i t e postage, a copy of:STIPULATION

17     RE: RECOMMENDATION
18     addressed t o :
       STEPHEN D. LONDON
19     1100 POYDRAS STREET, SUITE 2950
       NEW ORLEANS, LOUISIANA 70163
20     504 582-2427
21     h i s / h e r l a s t known addresses, a t which p l a c e t h e r e i s a

22     d e l i v e r y s e r v i c e by U n i t e d S t a t e s m a i l .

23             T h i s C e r t i f i c a t e i s executed on June 12, 1998, a t Los

24     Angeles, C a l i f o r n i a .

25             I c e r t i f y under p e n a l t y o f ^ p € r J i l ^ y t f t ^ t t h e f o r e ^ o i j j g i s

26     t r u e and"corre~cfe-.-...^



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